       Case 2:17-cr-00041-TLN Document 43 Filed 10/24/17 Page 1 of 3


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    DOUGLAS J. BEEVERS, # 288639
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     JAMES SMALLWOOD
6
7                               IN THE UNITED STATES DISTRICT COURT
8                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                     )   Case No. 2:17-cr-041 TLN
10                                                 )
                            Plaintiff,             )   STIPULATION AND ORDER TO CONTINUE
11                                                 )   STATUS CONFERENCE
           v.                                      )
12                                                 )
     JOHN SMALLWOOD and JAMES                      )   Date: October 26, 2017
13   SMALLWOOD,                                    )   Time: 9:30 a.m.
                                                   )   Judge: Hon. Troy L. Nunley
14                          Defendant.             )
15
            IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States
16
     Attorney, through Owen Roth, Assistant United States Attorney, attorney for Plaintiff, and
17
     Heather Williams, Federal Defender, through Assistant Federal Defender Douglas J. Beevers,
18
     attorney for James Smallwood, and Olaf W. Hedberg, attorney for Defendant John Smallwood,
19
     that the status conference scheduled for October 26, 2017, at 9:30 a.m., be vacated and the matter
20
     continued to January 18, 2018, at 9:30 a.m., for status conference.
21
            Defense counsel have received extensive discovery and are expecting to receive
22
     additional discovery. Counsel require additional time to review discovery, investigate the facts
23
     of this case, and hold discussions with their clients in furtherance of a resolution.
24          Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
25   excluded of this order’s date through and including January 18, 2018; pursuant to 18 U.S.C.
26   §3161 (h)(7)(A) and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
27   based upon continuity of counsel and defense preparation.
28

      Stipulation and Proposed Order                   -1-
        Case 2:17-cr-00041-TLN Document 43 Filed 10/24/17 Page 2 of 3


1             Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.
4
     DATED: October 24, 2017
5                                                  Respectfully submitted,
6
                                                   HEATHER E. WILLIAMS
7                                                  Federal Defender

8                                                  /s/ Douglas J. Beevers
                                                   DOUGLAS J. BEEVERS
9                                                  Assistant Federal Defender
10                                                 Attorney for JAMES SMALLWOOD

11   DATED: October 24, 2017                       /s/ Olaf Hedberg
                                                   OLAF HEDBERG
12                                                 Counsel for Defendant
                                                   JOHN SMALLWOOD
13
14
     DATED: October 24, 2017                       PHILLIP A. TALBERT
15                                                 United States Attorney

16                                                 /s/ Owen Roth
                                                   OWEN ROTH
17                                                 Assistant U.S. Attorney
                                                   Attorney for Plaintiff
18
19
20
21
22
23
24
25
26
27
28

      Stipulation and Proposed Order                 -2-
       Case 2:17-cr-00041-TLN Document 43 Filed 10/24/17 Page 3 of 3


1                                               ORDER
2           IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence.     The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendants in a speedy trial.
8           The Court orders the time from the date the parties stipulated, up to and including
9    January 18, 2018, shall be excluded from computation of time within which the trial of this case
10   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It
12   is further ordered the October 26, 2017 status conference shall be continued until January 18,
13   2018, at 9:30 a.m.
14   DATED: October 24, 2017
15
16
                                                               Troy L. Nunley
17                                                             United States District Judge

18
19
20
21
22
23
24
25
26
27
28

      Stipulation and Proposed Order                 -3-
